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        UNITED STATES DISTRICT COURT                                     DOCUMENT
        SOUTHERN DISTRICT OF NEW YORK                                    ELECTRO'1IC..\LL Y FILE D
                                                                         DOC Ii:
        FEDERAL TRADE COMMISSION ,       ET AL .,
                                                                                   - --------
                                                                         DATE I- ILE D: f1..-t3/loUJ
                                             Plaintiffs ,

                               - against -                          17 Civ . 1 24       (LLS)

        QUINCY BIOSCIENCE HOLDING CO .,           INC .,                           ORDER
        ET AL. ,

                                             Defendants .
f




t!)            Plaintiffs seek a protective order prohibiting defendants
C:
    7   from taking the proposed 30(b) (6) depositions of the Attorney

w       General of the State of New York ( " NYAG " ) and the Federal Trade

        Commission (" FTC " ) . Defendants oppose plaintiffs ' motions and

        counter with their own request         (Dkt . No. 143 ) for an Order

        requiring plaintiffs to supplement their Interrogatory responses

        and Requests for Admission ( " RFAs " ).

               The parties '   requests are resolved as follows :

        1.   30 (b) (6)   "Contention Topics" and "Communication Topics"

               Topics 6-15 and Topics 4 - 11 ,           13 in the list of Noticed

        Deposition Topics served on the NYAG                 (Ex . 1 ,   Dkt . No . 135-1,

        "NYAG Topics " ) and the FTC         (Ex . A ,    Dkt . No . 134 - 1 ,      " FTC

        Topics") ,    respectively,    seek to obtain testimony from trial

        counsel on "each and every fact that supports ,                     contradicts

        or otherwise relates to the allegations contained in"

        va rious paragraphs of the Complaint . These topics are

        overbroad and impermissibly attempt to invade upon

        information protected by the attorney work - product

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privilege . See SEC v. Morelli ,          143 F . R . D. 42 ,   47   (S . D. N . Y.

1992) .

     NYAG Topics 16 - 28 and 33 - 35 seek testimony on " All

communications , whether written or oral , between the NYAG "

and various third parties . These topics are similarly

overbroad and would " involve questions of attorney work

product since they would reflect              [the attorney ' s]      areas of

interrogation , mental impressions , and opinions concerning

credibility . " S . E . C . v . Rosenfeld , No.      97 CIV . 1467        (RPP) ,

1997 WL 576021 ,      at *3   (S . D. N . Y. Sept . 16 ,    1997) . FTC Topics

14 and 31      (the " Premature Expert Discovery " topics) must be

protected for the same reasons , even if the expert was not

retained .

      Further , both the NYAG and the FTC stated that all

relevant , non - privileged communications ,               " essentially its

entire investigative file ",          are already in defendants '

possession . See FTC ' s Letter at 2 ,          3 ; Soberats Deel . ~3 ;

NYAG ' s Letter at 2 ,     3 . Accordingly ,     any information attested

to on those Topics would likely be duplicative of

information already produced and therefore would only be

used to reveal trial counsel ' s strategy , not the facts . See

Morelli ,    143 F . R . D. at 47   ("Given plaintiff ' s sworn ,

uncontroverted statement that all relevant , non - privileged

evidence has been disclosed to the defendants ,                  the Court is

drawn inexorably to the conclusion that                [defendant] ' s Notice

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of Deposition is intended to ascertain how the SEC intends

to marshall the facts , documents and testimony in its

possession ,        and to discover the inferences that plaintiff

believes properly can be drawn from the evidence it has

accumulated ." ) .

        To the extent there exist non - privileged documents

responsive to defendants '         document requests which have yet

to be produced ,        plaintiffs shall promptly produce them ,           as

they ' ve agreed to do.       See Soberats Deel . i      4 ; Matuschak

Deel.     i   4. Additionally , as proposed by plaintiff in Exhibit

B to the Costello Declaration ,            the NYAG shall provide

"narrative response[s] " describing the communications

requested in Topics 19 ,        23 ,   25 - 27 .

2. Remaining Proposed 30{b) (6)            Deposition Topics

         First ,   like the Topics addressed above , NYAG Topics 5

and 31 constitute an impermissible attempt by defendants to

inquire into the mental processes and strategies of the

NYAG .

         Next ,    the response to FTC Topic 30 has been partially

satisfied by the FTC ' s response to Interrogatory No . 1 ,                in

which the FTC identified fifteen former and current

employees "likely to possess information relating to the

Subject Matter of this Action. " Soberats Deel . i i 5 - 6 . To

the extent additional employees '              files were searched for

potentially relevant information , the FTC shall identify

                                        - 3-
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these employees in a supplemental written response and shall

also describe " the procedures it uses to organize ,              store ,

and preserve documents and communications ." The NYAG shall

do the same in satisfaction of NYAG Topic 32 .

        Finally ,   Defendants and the FTC recently reached a

compromise whereby defendants propounded an interrogatory in

lieu of three 30(b) (6)        topics previously noticed . See

Soberats Deel.       11 9 - 10 . The FTC states that its forthcoming

response will also "provide much of the information

Defendants seek in Topic 28 ." Id.             Defendants may take the

same approach with the NYAG in lieu of NYAG Topics 1 ,                 2- 4

and 29 - 30.

        Accordingly , plaintiffs '     motion for a protective order ,

barring the Rule 30(b) (6)        depositions of the NYAG and the

FTC ,    is granted . If the supplemental written responses

required by this Order prove inadequate , defendants may

reopen their request for supplementary 30(b) (6)              deposition

topics .

3 . Defendants'      Request for Supplemental Discovery Responses

        Plaintiffs already amended their RFAs ,         and therefore

there is no need for the Court to address that issue .

        In Interrogatories 3 - 6 and 10 , defendants ask plaintiffs

to identify " each label , package , packaging insert , point -

of-sale display ,      advertisement ,       television commercial ,

marketing material ,       and/or promotional material concerning

                                      -4 -
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Prevagen ", "each Product Descriptor, marketing statement,

advertising statement ,         and/or claim You contend Defendants

made relating to Prevagen" that plaintiffs are challenging

as false , misleading and/or unsubstantiated ,                           and " all

documents" that support their allegations . See Graham Deel .

Ex . A .    (emphasis added).     In response , plaintiffs state they

are challenging "any representations made by Defendants ,

whether directly or indirectly,                expressly or by

implication , " or through their "net impression ",                          that convey

Prevagen improves memory or provides a list of other

cognitive benefits .        Id . Ex. A at 5 ,          6,    8,   10 .    Plaintiffs

also respond ,       "Defendants '   claims of memory and cognitive

benefits for the Prevagen Products are clearly stated across

all advertising and marketing .                   II
                                                            Id . Ex . A at 10 .

(emphasis added) .

     Defendants '      requests seek relevant information that

plaintiffs have necessarily obtained and consolidated over

the course of their investigation.                However ,          at trial ,      it is

unlikely that plaintiffs will present all the requested

materials individually to the jury , but instead will

compress the essential documents into a sampling , which the

Federal Rules of Evidence authorize . See Fed . R.Ev.                           1006 .

("The proponent may use a summary ,               chart ,         or calculation to

prove the content of voluminous writings ,                        recordings ,       or

photographs that cannot be conveniently examined in court.

                                        - 5-
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The proponent must make the originals or duplicates

available for examination or copying ,                   or both ,    by other

parties at a reasonable time and place ." ) .

      In this case ,      where it seems clear that the

advertisements and marketing materials cannot all be

conveniently examined in court ,                   a sampling of such

materials ,     designed to be fair and representative ,                    is the

most practical and least burdensome mechanism of proof .

 Plaintiffs shall deliver that sample to defendants in

 supplementation of their Interrogatory responses .

          Plaintiffs claim of prematurity is overruled . The

purpose of discovery is to " allow for a broad search for

 facts         . which may aid a party in the preparing or

presentation of his case ." Local Union No .                     40 of the Int ' l

Ass ' n of Bridge v. Car - Wi Const .,               88 F . Supp . 3d 250 ,      270

 ( S . D . N . Y . 2 0 1 5 ) ( citing Fed . R . Ci v . P . 2 6 ( b ) Advisory Co mm it tee

 Note     [1946 Amendment]       at Subdivision         (b)) . No disservice

 will be done here by requiring plaintiffs to provide the

 information at this time , as plaintiffs will be allowed to

 amend their sampling in good faith prior to trial.

        So ordered .

Dated :    New York , New York
           December 3 , 2020


                                                      ~J        L.SttvW~
                                                      LOUIS L . STANTON
                                                          U.S.D . J.

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